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                               UNITED STATES DISTRICT COURT
                                FOR THE STATE OF COLORADO

  Case No.: 1:19-cv-02815-DDD-STV

  SANDRA ROMERO,

         Plaintiff,

  v.

  Genuine Parts Company
  d/b/a/ NAPA AUTO PARTS,

         Defendant.


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


         COME NOW Plaintiff, Sandra Romero, and Defendant, Genuine Parts Company d/b/a

  NAPA Auto Parts, by and through their respective undersigned counsel of record, and pursuant

  to Rule 41 of the F.R.C.P., hereby jointly and mutually stipulate to the dismissal of Plaintiff’s

  Complaint in this case in its entirety, including all claims asserted herein against any party and

  by virtue of any pleading entered or filed in this proceeding, with prejudice. The parties further

  stipulate to the removal of the case from the Court’s docket. All parties to bear their own

  attorneys’ fees and costs.

         Respectfully submitted this _11th___ day of _March_______, 2020.




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                                           /s/ Lisa M. Szafranic
                                           ___________________________________________________________________________________________________________

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                                   CERTIFICATE OF SERVICE


         I hereby certify that on this 11th__, day of March__, 2020__, I, Ralph E. Lamar, caused

  to be electronically filed the foregoing JOINT STIPULATION OF DISMISSAL WITH

  PREJUDICE with the Clerk of the Court using the CM/ECF system, which will automatically

  send email notification of such filing to all counsel of record.


                                                 By:    s/Ralph E. Lamar




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